     Case 2:16-cv-00166-FFM Document 93 Filed 09/12/18 Page 1 of 15 Page ID #:1607



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 3
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      Attorneys for Plaintiff LFP IP, LLC
13


14
                         UNITED STATES DISTRICT COURT
15

16
                        CENTRAL DISTRICT OF CALIFORNIA

17

18
     LFP IP,LLC,                            Case No.: cv 16-166 FFM
19

zo                     Plaintiff,           The Hon. Frederick F. Mumm

ai
     vs.                                            edl FINAL PRETRIAL
z2
                                                    RENCE ORDER

23
     LEE KEITH BRETT,

24
                                        Final Status Conference: September 13,
25
                                        2018
                        Defendant.
26
                                        First Day of Trial: October 2,2018
a~
28




                         FINAL PRETRIAL CONFERENCE ORDER
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 1
            Following pretrial proceedings, pursuant to F.R.Civ.P. 16 and L.R. 16, IT I
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     •
     't           t
 3

 4           1.       The parties are:      P l a i n t i ff LFP IP, LLC ("Plaintiff'), and
 5
       Defendant Lee Keith Brett("Defendant").
 6

                      Each of these parties has been served and has appeared. All other
 a
      parties named in the pleadings and not identified in the preceding paragraph are
 9

io
      now dismissed.

ii
                      The pleadings which raise the issues are:
iz

13                    The Complaint filed by Plaintiff on January 8, 2016(Doc. 1);
14

15
                      and

16
                      the Answer filed by Defendant on August 3, 2016(Doc. 23)
~~
is

19

ao           2.       Federal jurisdiction and venue are invoked upon the grounds:

21
      Plaintiff seeks injunctive relief under 15 U.S.C. § 1051, et seq. (the "Lanham
as
      Act"), and this Court has subject matter jurisdiction of this action pursuant to 28
23

24    U.S.C. §§ 1331; 1332; 1338 and 1367; 15 U.S.C. § 1125(a); and 15 U.S.C. §
25
       1 121. Venue is proper pursuant to 28 U.S.C. §§ 1391 (b) and (c).
26

27

28
             3.       The trial is estimated to take 2 trial days.


                              FINAL PRETRIAL CONFERENCE ORDER
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 1


 a             4.    The trial is to be a nonjury trial.
 3
               At least seven(7)days prior to the trial date the parties shall file and serve
 4


 5
      by e-mail, fax or personal delivery the findings offact and conclusions oflaw the

 6
      party expects the Court to make upon proof at the time of trial required by L.R.

      52-1.
 a
 9


10
               5.   The following facts are admitted and require no proof:
~~
12


13
           (1)      Plaintiff LFP IP, LLC ("Plaintiff') is a Delaware limited liability
14

              company authorized to do business in the State of California.
is
16


17
           (2)      Plaintiff is the owner of a HUSTLER trademark that was registered
ie
19            on February 25, 2003 for "clothing, namely, beach wear, blouses, coats,
20
              coveralls, dresses, head wear,jackets,jeans,jogging suits,jumpers, leg
ai
za            warmers, leggings, lingerie, lounge wear, neckwear, pants, scarves, shirts,

23
              ski wear, slacks, sleep wear, tank tops, socks, vests" in International Class
24
              25 (U.S. Reg. No. 2689852).
25


26


27
          (3)       Plaintiff is the owner of a HUSTLER HOLLYWOOD service mark
ze



                            FINAL PRETRIAL CONFERENCE ORDER
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 1
            that was registered on Apri12, 2013 for "[r]etail store services featuring
 a
            digital video discs, adult sexual stimulation aids, apparel, lingerie, hats,
 3

 4          cosmetics, candles, perfumes, shave creams, bath and body products,
 5
            personal lubricants, body creams, novelty items, party games, playing
 6

           cards, candies,jewelry, books, magazines, condoms, and lotions" in
 s
           International Class 35(U.S. Reg. 4312312).
 9

10

~~        (4)     Plaintiff is the owner of a HUSTLER trademark that was registered
is
           on May 20, 1975 for "entertainment magazine" in International Class 16
13

14        (U.S. Reg. 1011001).
15

16

~~        (5)     Plaintiff is the owner of a HCTSTLER TV trademark that was

is         registered on October 25, 2005 for "[c]able, satellite, television and video-
19
           on-demand(VOD)broadcasting" in International Class 38(U.S. Reg.
ao

ai         3008950).
zz

23

24        (6)     Plaintiff is the owner of a HCTSTLER trademark that was registered
25
           on January 28, 2003 for "men's and women's jewelry, namely, rings,
26

2~
           necklaces, bracelets,[watches ]" in International Class 14 and "glassware,

as         namely, shot glasses, mugs, beer steins" in International Class 21 (U.S.


                          FINAL PRETRIAL CONFERENCE ORDER
                                                4
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 1
            Reg. 2679483).

 3


 4         (7)    Plaintiff is the owner of a HUSTLER trademark that was registered
 5
            on December 4, 2007 for "[g]arments for pets" in International Class 18
 6

           (U.S. Reg. 3349195).
 8


 9


io
           (8)    Plaintiff is the owner of a HUSTLER trademark that was registered

~~         on February 15, 2011 for "[m]otorcycle helmets" in International Class 9.
is
          (U.S. Reg. 3918404).
13


14


15
          (9)     Plaintiff is the owner of a HUSTLER trademark that was registered
16


~~         on December 24, 2013 for "[e]yewear, namely, sunglasses; Protective gear

is         for motorcycle riding, namely, motorcycle gloves for protecting hands in
19

           an accident and motorcycle goggles" in International Class 9.(U.S. Reg.
zo

21         4453481).
22


23


24        (10) Plaintiff is the owner of a HUSTLER trademark that was registered
25
           on June 18, 2013 for "[b]ackpacks; Duffel bags; Handbags; Messenger
26


a~
           bags; Purses; Tote bags; Travel bags; Wallets" in International Class 18.

ae        (U.S. Reg. 4354035).


                         FINAL PRETRIAL CONFERENCE ORDER

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     Case 2:16-cv-00166-FFM Document 93 Filed 09/12/18 Page 6 of 15 Page ID #:1612



 1


 2
           (11) Defendant Lee Keith Brett("Defendant")is an individual that
 3

 4         resides in Clay Center, Kansas.
 5

 6

          (12) Defendant operates a website with the domain name
 a
           <AmericanHustlerClothing.com>
 9

10

~~        (13) Defendant purchased the <AmericanHustlerClothing.com> domain
~~
           name on or about May 7, 2015.
13


14

15
          (14) Defendant filed a trademark application on June 10, 2015, for an
16

~~         AMERICAN HUSTLER service mark (Serial No. 86657943)for "[o]n-

ie         line retail stores services featuring clothing and billiard products" in
19
           International Class 35.
ao

ai
zz
          (15) During the application process, Defendant disclaimed any exclusive
23

24         right to use "AMERICAN" apart from the mark as shown.
25

26

a~
          (16) On October 22, 2015,the United States Patent and Trademark

as         Office("USPTO")issued an Office Action refusing Defendant's


                         FINAL PRETRIAL CONFERENCE ORDER

                                               6
     Case 2:16-cv-00166-FFM Document 93 Filed 09/12/18 Page 7 of 15 Page ID #:1613



 1
            AMERICAN HUSTLER application based upon the likelihood of
 2

           confusion with three of Plaintiff's Registered Marks (specifically, U.S.
 3


 4         Reg. Nos. 2689852,4268341, and 4312312).
 5


 6

          (17) On December 8, 2015, Defendant responded to the October 22, 2015
 s
           Office Action.
 9


10


~~        (18) On January 10, 2016, the USPTO issued a Final Office Action again
is
           refusing Defendant's AMERICAN HUSTLER application based upon the
13


14         likelihood of confusion with Plaintiff's Registered Marks (specifically,
15
           U.S. Reg. Nos. 2689852, 4268341, and 4312312).
16


17


18
          (19) On June 22, 2016, prior to this preliminary conclusion being fully
19

           adjudicated, the USPTO suspended action on Defendant's AMERICAN
ao

21         HUSTLER application pending termination ofthis civil proceeding and the
22
           refusal for likelihood of confusion with Plaintiff's Registered Marks was
23


24         continued as non-final.
25


26


a~
          (20) LFP,IP is not the exclusive trademark owner of the word "hustler."

28         For example, Cigar Hustler reg. no. 4337913 is not owned by LFP,IP.


                         FINAL PRETRIAL CONFERENCE ORDER

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 1
           (21) LFP,IP has not conducted a survey.
 a

 3


 4           6.    The following facts, though stipulated, shall be without prejudice to
 5
       any evidentiary objection: N/A
 6


 7


 8


 9


10
             7.    Plaintiff:
~~
is         (a)     Plaintiff plans to pursue the following claims against the following
13
      defendant:
14

            Claim 1:     Defendant infringed Plaintiff's Registered Trademarks) by
15


16          promoting, advertising, preparing to distribute and/or selling "American
17
           Hustler" branded clothing items(15 U.S.C. § 1114(a)).
is

19


20
           Claim 2:      Defendant, in connection with the sale of t-shirts, used the
zi

as         term "American Hustler" in a false or misleading way which is likely to

23
           cause confusion, or to cause mistake, or to deceive as to the affiliation,
24
           connection or association between Defendant and Plaintiff, or as to the
25


26         origin, sponsorship or approval of Defendant's t-shirts or commercial
27
           activities by Plaintiff(15 U.S.C. § 1125(a)).
zs




                          FINAL PRETRIAL CONFERENCE ORDER
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     Case 2:16-cv-00166-FFM Document 93 Filed 09/12/18 Page 9 of 15 Page ID #:1615



 1


 2


 3


 4               The elements required to establish Plaintiffs claims are:
 5
           Claim 1:     Infringement of Plaintiff's Registered Trademark
 6

           A trademark is any word, name, symbol, device, or any combination
 s
           thereof, used by a person to identify and distinguish that person's goods
 9


io
           from those of others and to indicate the source of the goods.

~~         In this case, Plaintiff contends that the Defendant has infringed Plaintiffs
~~
           trademark(s). Plaintiff has the burden of proving by a preponderance of
13


14         the evidence that:
15
          (1)    HUSTLERS and/or HUSTLER HOLLYWOOD                           are valid,
16


~~         protectable trademarks;

is        (2)    Plaintiff      owns     the       HUSTLERS      and/or      HUSTLER
19
           HOLLYWOOD            trademarks; and
ao

ai        (3)    Defendant used the "American Hustler" mark on his goods, without
zz
           the consent of the Plaintiff, in a manner that is likely to cause confusion
23


24         among ordinary purchasers as to the source of the goods.
25
           AUTHORITY: Ninth Circuit Manual of Model Jury Instructions,
26


2~
           §15.1[modified] and §15.5 [modified].

28




                         FINAL PRETRIAL CONFERENCE ORDER
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     Case 2:16-cv-00166-FFM Document 93 Filed 09/12/18 Page 10 of 15 Page ID #:1616



 1
            Claim 2:      Federal Unfair Competition /False Designation of Origin
 a
            Plaintiff has the burden of proving by a preponderance of the evidence
 3

 4          that:
 5
           (1)        The HLJSTLER~ and/or HUSTLER HOLLYWOOD                   trademarks
 6

            are valid, protectable marks;
 s
           (2)      Plaintiff owns the claimed trademarks;
 9

io
           (3)      Defendant used the "American Hustler" mark, without the consent

~~          of Plaintiff, in a manner that is likely to cause confusion among ordinary
iz
            consumers as to the source, sponsorship, affiliation or approval of the
13

14          gOOC~S.

15
            AUTHORITY: 15 U.S.C. §1125(a)
16

17

18

19
            In brief, the key evidence Plaintiff relies on for each ofthe claims is:
zo

zi          1.      Plaintiff's Federal Trademark and Service Mark Registrations
2z
           (Plaintiff owns various HUSTLERS trademark registrations for various ~
23

24          goods and services, including but not limited to an incontestable
25
            registration for apparel items, including shirts. Plaintiff also owns the
26

2~
            HUSTLER HOLLYWOOD               service mark for a chain of retail stores that

28         feature various items for sale, including but not limited to HUSTLER


                           FINAL PRETRIAL CONFERENCE ORDER

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     Case 2:16-cv-00166-FFM Document 93 Filed 09/12/18 Page 11 of 15 Page ID #:1617



 1
            branded t-shirts and HUSTLERS branded merchandise).
 2


 3


 4          2.    Examples of Plaintiff LFP's T-Shirts (various designs that Plaintiff
 5
            has sold over the years, some that feature the American flag and the slogan
 6

           "Hardcore Since `74").
 s

 9


io
            3.    Defendant's various T-Shirt Designs (among other things,

~~          Defendant's t-shirt designs that feature "Hustler" prominently, designs that
is
            feature the year 1974, and using words such "original")
13


14


15
            4.    The USPTO's rejection of Defendant's "American Hustler" service
16


~~          mark application on a Section 2(d) likelihood of confusion refusal basis

ie          with respect to several registrations owned by Plaintiff.
19


20


ai          5.    Defendant's website that features various "American Hustler" t-shirt
zz
            designs.
23


24


25


26


27


as         (a)          Defendant plans to pursue the following counterclaims and


                          FINAL PRETRIAL CONFERENCE ORDER
                                              11
     Case 2:16-cv-00166-FFM Document 93 Filed 09/12/18 Page 12 of 15 Page ID #:1618



 1
        affirmative defenses:
 a
      Pursuant to the meet and confer process with LFP's counsel, and based in
 3


 4    particular on LFP's counsel's representations that it will not pursue a claim for
 5
      damages, and has withdrawn and will not pursue its Third and Fourth Claims
 6

      asserted in the Complaint, Mr. Brett will not pursue at trial the following defenses
 s
      previously asserted in Mr. Brett's answer, affirmative defenses and counterclaims
 9


io
      are withdrawn: 1) estoppel; 2) license; 3) laches; 4) waiver; 5) failure to state a

~~    claim; 6) mitigation of damages.       On August 3, Mr. Brett withdrew two
12
      counterclaims asserted in the Answer. See ECF No. 30.
13


14


15
           (b)     The elements required to establish Defendant's counterclaims and
16


~~     affirmative defenses are: See response to(a) above.

is
19


20
           (c)    In brief, the key evidence Defendant relies on for each counterclaim
ai

as    and affirmative defense is: See response to (a)above.

23


24
             8.   In view of the admitted facts and the elements required to establish
25


26     the claims, counterclaims and affirmative defenses, the following issues remain ~
27
       to be tried: (1) whether Defendant used the "American Hustler" mark on his ~
as



                          FINAL PRETRIAL CONFERENCE ORDER
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 1
       goods, without the consent of the Plaintiff, in a manner that is likely to cause
 2

       confusion among ordinary purchasers as to the source of the goods; and (2)
 3


 4     Defendant used the "American Hustler" mark, without the consent of Plaintiff,
 5
       in a manner that is likely to cause confusion among ordinary consumers as to the
 6

       source, sponsorship, affiliation or approval ofthe goods
 e

 9


10


~~           9.   All discovery is complete.
is

13


14

             10. All disclosures under F.R.Civ.P. 26(a)(3) have been made.
15


16           The joint e~ibit list of the parties has been filed under separate cover as
17
       required by L.R. 16-6.1.
16


19           Pursuant to the Civil Trial Order issued on June 26, 2018, the parties shall
20
       meet and confer and prepare the Final Pre-Trial Exhibit Stipulation for filing on
zi
as     September 25, 2018.

23


24
             1 1. Witness lists of the parties have been filed with the Court.
2s

26           Only the witnesses identified in the lists will be permitted to testify (other ~
27
       than solely for impeachment).
ze



                          FINAL PRETRIAL CONFERENCE ORDER

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 1


 2

             12. The following law and motion matters and motions in limine, and no
 3


 4     others, are pending or contemplated: N/A.
 5


 6


 7


 8
             13. Bifurcation ofthe following issues for trial is ordered: None.
 9


10


~~           14. The foregoing admissions having been made by the parties, and the
iz
       parties having specified the foregoing issues remaining to be litigated, this Final
13


14     Pretrial Conference Order shall supersede the pleadings and govern the course
15
       ofthe trial ofthis cause, unless modified to prevent manifest injustice.
16


17


18


19     Dated: i ~ ~.s~ ~~,2018.
                                                          ~~.
20


21
                                                               ~ ~~~.~
                                                            o~!'
22
                                             U.S. DISTRICT MAGISTRATE JUDGE
23


24


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                          FINAL PRETRIAL CONFERENCE ORDER
                                               14
     Case 2:16-cv-00166-FFM Document 93 Filed 09/12/18 Page 15 of 15 Page ID #:1621



 1

 2

        Approved as to form and content.
 3

 4     Attorneysfor PlaintiffLFPIP,LLC:
 5

 6
       LIPSITZ GREEN SCIME CAMBRIA LLP

 7

 8
       By: /s/Jonathan W.Brown
            Jonathan W.Brown, Esq.
 9

10
       Attorneysfor Defendant Lee Keith Brett:
~~
       McDERMOTT WILL &EMERY LLP
~~
13
       By: /s/ Jodi L. Benassi
14
           Jodi L. Benassi, Esq.
15

16

17

18


19
                              SIGNATURE ATTESTATION
ao          Pursuant to Local Rule 5-4.3.4, I hereby attest that all other signatories
21    listed, and on whose behalf the filing is submitted, concur in the filing's content
az    and have authorized the filing.
23                                             By: /s/Jonathan W. Brown
24                                                 Jonathan W.Brown
                                                   Attorney for Plaintiff
25
                                                   LFP IP, LLC
26

27

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                          FINAL PRETRIAL CONFERENCE ORDER
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